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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------)(
 MICHAEL DARDASHTIAN, individually and
 on behalf of COOPER SQUARE VENTURES,
 LLC, NDAP, LLC and CHANNELREPL Y, LLC,
                                                                       17 Civ. 04327 (LLS)
                                                 Plaintiffs,

             -against-                                                ANSWER

DA VID OlTMAN, JEREMY FALK,
SUMMIT ROCK HOLDINGS, LLC,
ACCEL COMMERCE, LLC,
DAL VA VENTURES, LLC,
KONST ANTYN BAGAEV,
OLESKSII GLUKHAREV and
CHANNEL REPLY, INC.,

                                                 Defendants.
--------------------------------------------------------------   )(


             Defendants Jeremy Falk ("Falk") and Summit Rock Holdings, LLC ("Summit Rock" and

together with Falk, the "Defendants"), by their attorneys, Morrison Cohen LLP, as and for their

Answer to the Verified Complaint ("Complaint") of Plaintiffs, allege as follows:

                                                        PARTIES

                             I.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph I of the Complaint.

                             2.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 2 of the Complaint.

                         3.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 3 of the Complaint.

                         4.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 4 of the Complaint.




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                                5.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 5 of the Complaint.

                                6.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 6 of the Complaint.

                                7.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 7 of the Complaint.

                                8.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 8 of the Complaint.

                                9.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 9 of the Complaint, except admit that NDAP is engaged

in the online sale of automobile parts throughout the United States.

                                10.   Admit the allegations set forth in paragraph 10 of the Complaint.

                                11.   Deny the allegations set forth in paragraph II of the Complaint except

admit that (a) Falk is a principal and the sole member of Summit Rock; (b) Summit Rock entered

into a Services Agreement dated March 3, 2017 with CSV and NDAP in connection with a

proposed sale of NDAP's assets. The Court is respectfully referred to the Services Agreements

for its complete contents.

                                12.   Deny the allegations set forth in paragraph 12 of the Complaint.

                                13.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set fOt1h in paragraph 13 of the Complaint.

                                14.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 14 of the Complaint.




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                              15.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 15 of the Complaint.

                              16.   Deny knowledge or information sufficient to form a belief as to the truth

ofthe allegations set forth in paragraph 16 of the Complaint.

                              17.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 17 of the Complaint.

                                                JURISDICTION AND VENUE

                              18.   Paragraph 18 states a legal conclusion as to which no response is required.

To the extent a response is required, Defendants' deny the allegations set forth in paragraph 18

of the Complaint.

                              19.   Paragraph 19 states a legal conclusion as to which no response is required.

To the extent a response is required, Defendants' deny the allegations set forth in paragraph 19

of the Complaint.

                              20.   Paragraph 20 states a legal conclusion as to which no response is required.

To the extent a response is required, Defendants' deny the allegations set forth in paragraph 20

of the Complaint.

                              21.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 21 of the Complaint.

                                            FACTS COMMON TO ALL COUNTS

FALK AND SUMMIT ROCK'S "CONSULTING FEE"

                          22.       Deny the allegations set forth in paragraph 22 of the Complaint.

                          23.       Admit the allegations set forth in paragraph 23 of the Complaint.

                          24.       Deny knowledge or information sufficient to form a belief as to the truth




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of the allegations set forth in paragraph 24 of the Complaint.

                            25.   Deny the allegations set forth in paragraph 25 of the Complaint.

                            26.   Deny the allegations set forth in paragraph 26 of the Complaint.

                            27.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 27 of the Complaint.

DEFENDANTS' REPRESENTATIVE MISAPPROPRIATION AND CONVERSION OF CSV's ASSETS

                            28.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 28 of the Complaint.

                            29.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 29 ofthe Complaint.

                            30.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 30 of the Complaint.

                            31.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 31 of the Complaint.

                            32.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 32 ofthe Complaint.

                            33.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 33 of the Complaint.

                        34.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 34 of the Complaint.

                        35.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 35 of the Complaint.




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                            36.    Deny knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in paragraph 36 of the Complaint.

                            37.    Deny knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in paragraph 37 of the Comp laint.

                            38.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 38 of the Complaint.

                            39 .   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 39 of the Complaint.

                            40.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 40 of the Complaint.

                            41.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 41 of the Complaint.

                            42.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 42 of the Complaint.

                            43.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 43 of the Complaint.

GITMAN'S UNLAWFUL FORMATION OF COMPETING BUSINESSES-
ACCEL COMMERCE AND D EFEN DANT CHANNEL REPLY, INC.

                        44.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 44 of the Complaint.

                        45 .       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 45 of the Complaint.

                        46.        Deny the allegations set forth in paragraph 46 of the Complaint.




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                               47.   Deny knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in paragraph 47 of the Complaint.

                               48.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 48 of the Complaint, except admit that, upon information

and belief, Mary Faith Arden served as a bookkeeper for Acce! Commerce.

                               49.   Deny the allegations set forth in paragraph 49 of the Complaint except

admit that Accel Commerce was formed on or about March 20, 2017; Falk, through Summit

Rock, acted as an independent consultant in accord with that certain Services Agreement dated

March 3, 2017 with CSV and NDAP in connection with a proposed sale ofNDAP 's assets; and

during the sales process, FalkiSummit Rock received certain confidential data.

                               50.   Deny the allegations set forth in paragraph 50 of the Complaint.

                               51.   Deny the allegations set forth in paragraph 51 of the Complaint.

DEFENDANT CHANNEL REPLY, INC.

                               52.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 52 of the Complaint.

                               53.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 53 of the Complaint.

                               54.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 54 ofthe Complaint.

                               55.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 55 of the Complaint.

                           56.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 56 of the Complaint.



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                             57.    Deny knowledge or infonnation sufficient to form a belief as to the truth

 of the allegations set forth in paragraph 57 of the Complaint.

                             58 .   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 58 of the Complaint.

                             59.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 59 of the Complaint.

                             60.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 60 of the Complaint.

                             61.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 61 of the Complaint.

                             62.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 62 of the Complaint.

                             63 .   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 63 of the Complaint.

                             64.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 64 of the Complaint.

                         65.        Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 65 of the Complaint.

                         66.        Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 66 of the Complaint.

                         67.        Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 67 ofthe Complaint.




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                            68.   Deny the allegations set forth in paragraph 68 of the Complaint.

                            69.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 69 ofthe Complaint.

GITMAN, FALK, BAGAEV, DALVA VENTURES, GLUCKHAREV,
DEFENDANT CHANNEL REPLY, INC. AND ACCEL COMMERCE
MISAPPROPRIA nON OF VARIOUS COMPUTER P ASSCODES AND SOFTW ARE

                            70.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 70 of the Complaint.

                            71.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 71 of the Complaint.

                            72.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 72 of the Complaint.

                            73.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 73 of the Complaint.

                            74.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 74 of the Complaint.

                            75.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 75 of the Complaint.

                            76.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 76 of the Complaint.

                        77.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 77 of the Complaint.

                        78.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 78 of the Complaint.


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                             79.   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 79 of the Complaint.

                             80.   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 80 of the Complaint.

                             81.   Deny knowledge or information sufficient to fonn a belief as to the truth

of the allegations set forth in paragraph 81 of the Complaint.

                             82.   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 82 of the Complaint.

                             83.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 83 of the Complaint.

                             84.   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 84 of the Complaint.

                             85.   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 85 of the Complaint.

                             86.   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 86 of the Complaint.

                             87.   Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 87 of the Complaint.

                         88.       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 88 of the Complaint.

                         89.       Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 89 of the Complaint.




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                            90.    Deny knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in paragraph 90 of the Complaint.

                            91.    Deny knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in paragraph 91 of the Complaint.

                            92.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 92 of the Complaint.

                            93.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 93 of the Complaint.

                            94.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 94 of the Complaint.

                            95.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 95 of the Complaint.

                            96.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 96 of the Complaint.

                            97.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 97 of the Complaint.

                            98.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 98 of the Complaint.

                            99.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 99 of the Complaint.

                            100.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 100 of the Complaint.




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                               101.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 101 of the Complaint.

                               102.    Deny the allegations set forth in paragraph 102 of the Complaint.

                               103 .   Deny the allegations set forth in paragraph 103 of the Complaint.

DEFAMATORY COMMENTS

                               104.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 104 of the Complaint.

                               105.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 105 of the Complaint.

                               106.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 106 of the Complaint.

                               107.    Deny knowledge or infOlmation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 107 of the Complaint.

                               108.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 108 of the Complaint.

                               109.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 109 of the Complaint.

                                                  COUNT 1
                                 INJUNCTIVE RELIEF AGAINST ALL DEFENDANTS
                               110.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                               Ill.    Deny the allegations set forth in paragraph III of the Complaint.

                               112.    Deny the allegations set forth in paragraph 1 12 of the Complaint.




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                            113.     Deny the allegations set forth in paragraph 113 of the Complaint.

                            114.     Deny the allegations set forth in paragraph 114 of the Complaint.

                            lIS .    Deny the allegations set forth in paragraph lIS of the Complaint.

                                                   COUNT 2
                                    BREACH OF FIDUCIARY DUTY AS TO GITMAN
                            116.     Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                            117.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 117 of the Complaint.

                            118.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 118 of the Complaint.

                            119.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 119 of the Complaint.

                            120.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 120 of the Complaint.

                            121.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 121 of the Complaint.

                            122.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 122 ofthe Complaint.

                                   COUNT 3
             BREACH OF FIDUCIARY DUTY AS TO FALK AND SUMMIT ROCK
                            123.     Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                            124.     Deny the allegations set forth in paragraph 124 of the Complaint.


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                             125.    Deny the allegations set forth in paragraph 125 of the Complaint.

                                                   COUNT 4
                                        AIDING AND ABETTING BREACH OF
                                    FIDUCIARY DUTIES AS TO ALL DEFENDANTS
                             126.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             127.    Deny the allegations set forth in paragraph 127 of the Complaint.

                             128.    Deny the allegations set forth in paragraph 128 of the Complaint.

                             129.    Deny the allegations set forth in paragraph 129 of the Complaint.

                             130.    Deny the allegations set forth in paragraph 130 of the Complaint.

                                   COUNT 5
        VIOLATION OF 18 USC 1832 AND 18 USC 1836 AGAINST GITMAN, FALK,
         BAGAEV, GLUHAREV, ACCEL COMMERCE, DALVA VENTURES AND
                      DEFENDANT CHANNEL REPLY, INC.
                             131.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             132.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 132 of the Complaint.

                             133.    Deny the allegations set forth in paragraph 133 of the Complaint.

                             134.    Deny the allegations set forth in paragraph 134 of the Complaint.

                             135.    Paragraph 135 states a legal conclusion as to which no response          IS


required . To the extent a response is required, Defendants deny the allegations set forth in

paragraph 135 of the Complaint.

                             136.    Deny the allegations set forth in paragraph 136 of the Complaint.




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                                COUNT 6
      INJUNCTIVE RELIEF PURSUANT TO 18 USC 1836(B)(3) AGAINST GITMAN,
        FALK, BAGAEV, GLUKHAREV, ACCEL COMMERCE AND DEFENDANT
                           CHANNEL REPLY, INC.
                             137.    Defendants repeat and reallege their responses to the prior paragraphs with

 the same force and effect as if set forth at length herein.

                             138.    Paragraph 138 states a legal conclusion as to which no response          IS


required. To the extent a response is required, Defendants deny the allegations set forth                     In


paragraph 138 of the Complaint.

                             139.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 139 of the Complaint.

                             140.    Deny the allegations set forth in paragraph 140 of the Complaint.

                             141 .   Deny the allegations set forth in paragraph 141 of the Complaint.

                                                  COUNT 7
                                     BREACH OF CONTRACT AGAINST GlTMAN
                             142.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             143.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 143 of the Complaint.

                             144.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 144 of the Complaint.

                             145.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 145 of the Complaint.

                             146.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 146 of the Complaint.



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                             147.   Deny knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in paragraph 147 of the Complaint.

                             148.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 148 of the Complaint.

                             149.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 149 of the Complaint.

                                              COUNT 8
                              UNJUST ENRICHMENT AGAINST ALL DEFENDANTS
                             150.   Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             151.   Deny the allegations set forth in paragraph 151 of the Complaint.

                             152.   Deny the allegations set forth in paragraph 152 of the Complaint.

                             153.   Deny the allegations set forth in paragraph 153 of the Complaint.

                                                 COUNT 9
                                    BREACH OF COVENANT OF GOOD FAITH
                                     AND FAIR DEALING AGAINST GITMAN
                             154.   Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             155.   Paragraph 155 states a legal conclusion as to which no response is

required . To the extent a response is required, Defendants deny the allegations set forth in

paragraph 155 of the Complaint.

                             156.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 156 of the Complaint.

                             157.   Deny knowledge or information sufficient to form a belief as to the truth




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 of the allegations set forth in paragraph 157 of the Complaint.

                                                     COUNT 10
                                                    CONVERSION
                            158.   Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                            159.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 159 of the Complaint.

                            160.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 160 of the Complaint.

                            161.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 161 of the Complaint.

                            162.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 162 of the Complaint.

                            163.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 163 of the Complaint.

                            164.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 164 of the Complaint.

                            165.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 165 of the Complaint.

                            166.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 166 of the Complaint.




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                                     COUNT 11
              CIVIL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAEV,
               GLUKHAREV, DALVA VENTURES AND CHANNEL REPLY, INC.
                            AS TO GITMAN'S CONVERSION
                            167.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                            168.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 168 of the Complaint.

                            169.    Deny the allegations set forth in paragraph 169 of the Complaint.

                            170.    Deny the allegations set forth in paragraph 170 of the Complaint.

                            171 .   Deny the allegations set forth in paragraph 171 of the Complaint.

                                  COUNT 12
                   FALSE DESIGNATION / UNFAIR COMPETITION
    15 U.S.c. 1125 AGAINST GITMAN AND DEFENDANT CHANNEL REPLY, INC .
                            172.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                            173.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 173 of the Complaint.

                            174.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 174 of the Complaint.

                            175.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 175 of the Complaint.

                            176.    Deny knowledge or infonnation sufficient to form a belief as to the truth

of the allegations set forth in paragraph 176 of the Complaint.

                            177.    Deny knowledge or infonnation sufficient to form a belief as to the truth




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 of the allegations set forth in paragraph 177 of the Complaint.

                              178.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 178 of the Complaint.

                              179.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 179 of the Complaint.

                              180.   Deny the allegations set forth in paragraph 180 of the Complaint.

                                                      COUNT 13
                                                   COMPUTER FRAUD
                                                     18 USC §1030
                              181.   Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                              182.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 182 of the Complaint.

                              183.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 183 of the Complaint.

                              184.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 184 of the Complaint.

                              185.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 185 of the Complaint.

                              186.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 186 of the Complaint.

                              187.   Deny knowledge or information sufficient to form a belief as to the truth

ofthe allegations set forth in paragraph 187 of the Complaint.




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                             188.   Deny knowledge or information sufficient to fOim a belief as to the truth

 of the allegations set forth in paragraph 188 of the Complaint.

                             189.   Deny the allegation set forth in paragraph 189 of the Complaint.

                                                        COUNT 14
           CIVIL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAEV,
         GLUKHAREV, DALVA VENTURES, AND CHANNEL REPLY, INC. AS TO
                      GITMAN'S VIOLATION OF 18 USC 1030
                             190.   Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             191.   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 191 of the Complaint.

                             192.   Deny the allegation set forth in paragraph 192 of the Complaint.

                             193.   Deny the allegation set forth in paragraph 193 of the Complaint.

                             194.   Deny the allegation set forth in paragraph 194 of the Complaint.

                                                        COUNT IS
    TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS ADV ANT AGE
    AGAINST GITMAN, FALK, ACCEL COMMERCE,E BAGAEV, GLUKHAREV,
              DALVA VENTURES AND CHANNEL REPLY, INC .
                             195.   Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             196.   Deny the allegation set forth in paragraph 196 of the Complaint.

                             197.   Deny the allegation set forth in paragraph 197 ofthe Complaint.

                             198.   Deny the allegation set forth in paragraph 198 of the Complaint.

                             199.   Deny the allegation set forth in paragraph 199 of the Complaint.

                         200.       Deny the allegation set forth in paragraph 200 of the Complaint.




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                                                       COUNT 16
                                                   DEFAMATION PER SE
                              20 I.   Defendants repeat and reallege their responses to the prior paragraphs with

 the same force and effect as if set forth at length herein.

                              202.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 202 of the Complaint.

                              203.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 203 of the Complaint.

                              204.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 204 of the Complaint.

                              205.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 205 of the Complaint.

                              206.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 206 of the Complaint.

                              207.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 207 of the Complaint.

                                            COUNT 17
                         IDENTITY THEFT: NY CLS BUS 380-S AGAINST GITMAN
                              208.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                              209.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 209 of the Complaint.

                          210.        Deny knowledge or information suffic ient to form a belief as to the truth

of the allegations set forth in paragraph 210 of the Complaint.



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                             211 .   Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 211 of the Complaint.

                                        COUNT 18
                      UNFAIR COMPETITION AS TO ALL DEFENDANTS UNDER
                                  NEW YORK STATE LAW
                             212.    Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             213.    Deny the allegations set forth in paragraph 213 of the Complaint.

                             214.    Deny the allegations set forth in paragraph 214 of the Complaint.

                                               COUNT 19
                               MISAPPROPRIA TION OF TRADE SECRETS UNDER
                                         NEW YORK STATE LAW
                             215 .   Defendants repeat and reallege their responses to the prior paragraphs with

the same force and effect as if set forth at length herein.

                             216.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 216 of the Complaint.

                         217.        Deny the allegations set forth in paragraph 217 of the Complaint.

                         218.        Deny the allegations set forth in paragraph 218 of the Complaint.

                         219.        Deny the allegations set forth in paragraph 219 of the Complaint.

                                           FIRST AFFIRMATIVE DEFENSE
                         220.        The Complaint fails, in whole or in part, to state a claim upon which relief

can be granted .

                                         SECOND AFFIRMATIVE DEFENSE
                         221.        The Complaint is barred due to Plaintiffs' wrongful acts, inequitable

conduct, and/or unclean hands.




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                                          THIRD AFFIRMATIVE DEFENSE
                            222.    Plaintiffs have failed to mitigate their damages, if any.

                                         FOURTH AFFIRMATIVE DEFENSE
                            223 .   Plaintiffs' claims are barred, in whole or in part, by the terms of the

Services Agreement and Plaintiffs' breach thereof.

                                              FIFTH AFFIRMATIVE DEFENSE

                            224.    Plaintiffs' claims are barred, in whole or in part, by the intentional or

improper acts of parties other than Defendants which constitute intervening and/or superseding

causes of the hmm, if any, suffered by Plaintiffs.

                                             SIXTH AFFIRMATIVE DEFENSE

                            225.    Plaintiffs' claims are barred, in whole or in part, because Defendants acted

in good faith at all relevant times.

                                           SEVENTH AFFIRMATIVE DEFENSE

                            226.    Plaintiffs' claims are barred, in whole or in part, because Plaintiffs have

not suffered any injury or damage as the result of any act, conduct or omission by Defendants.

                                            EICHTH AFFIRMATIVE DEFENSE

                        227.        Plaintiffs' claims are barred, in whole or     In   part, by the doctrines of

waiver, estoppel, laches, ratification and/or acquiescence.

                                             NINTH AFFIRMATIVE DEFENSE

                        228.        Plaintiffs' claims are barred, in whole or in part, because Defendants did

not misuse or misappropriate any of Plaintiffs' trade secrets.

                                             TENTH AFFIRMATIVE DEFENSE

                        229.        Plaintiffs' claims are barred, in whole or in part, because Defendants did

not breach any fiduciary duty toward Plaintiffs, to the extent they had any such fiduciary duty.




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                                             ELEVENTH AFFIRMATIVE DEFENSE

                               230.   Plaintiffs are not entitled to any injunctive relief against Defendants

because any alleged injury to Plaintiffs is not immediate and irreparable and Plaintiffs have an

adequate remedy at law.

                                            TWELFTH AFFIRMATIVE DEFENSE
                               231.   Defendants reserve all of their rights to add further affirmative defenses

during the course of this proceeding upon discovery of additional facts or other good causes.

              WHEREFORE, Defendants respectfully request Judgment as follows:

                                      (a)     dismissing the Complaint against Defendants Falk and Summit
                                              Rock in all respects;
                                      (b)     for costs and disbursements of this action together with such other
                                              and fU11her relief as thi s court may deem just and proper.

Dated:               New York, New York
                     June 30, 2017
                                                            Yours, etc.,

                                                            MORRIS~ COHEI1zL~P / .;               ........._.,
                                                            By:     ~c '   > .   L / ,il-
                                                                   Edward P. Gilbert '
                                                                   909 Third Avenue
                                                                   New York, New York 10022
                                                                   (212) 735-8600
                                                            Attorneys for Defendants
                                                             Jeremy Falk and Summit Rock Holdings, LLC

To:          Barry S. Guaglardi, Esq.
             ARTURI, D'ARGENIO, GUAGLARDI
               & MELIT!, LLP
             365 West Passaic Street, Suite 130
             Rochelle Park, New Jersey 07662
             Phone: (201) 947-4100
             Fax: (201) 947-4010
             Attorneys for Plaintijft




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             Lindsay F. Dillow, Esq.
             DENTONS US LLP
             1221 Avenue of the Americas
             New York, New York 10020-1089
             (212) 768-6700
             Attorneys for Defendants
              David Gitman, Acce! Commerce, LLC, Dalva Ventures, LLC
              and Channel Reply, Inc.




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